           Case 5:21-cv-01069-G Document 31 Filed 01/04/22 Page 1 of 3




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF OKLAHOMA



 THE STATE OF OKLAHOMA et al.,

                  Plaintiffs,                      No. 5:21-cv-1069-G
     v.

 JOSEPH R. BIDEN et al.,

                  Defendants.


                  DEFENDANTS’ UNOPPOSED MOTION
          FOR EXTENSION OF TIME TO RESPOND TO COMPLAINT

       Defendants respectfully move for an extension of time to respond to Plaintiffs’

Complaint, Dkt. 1. The current deadline is January 7, 2022. See Fed. R. Civ. P. 12(a)(2). A

proposed order will be submitted separately.

       In this lawsuit, Plaintiffs challenge the federal government’s attempt to require certain

categories of federal contractors to ensure that their employees are vaccinated against COVID-

19. Plaintiffs filed this action on November 4, 2021, and effectuated service on the United

States Attorney’s Office for the Western District of Oklahoma on November 8, 2021. Dkt. 1,

10. On November 15, 2021, Plaintiffs filed a Motion for Temporary Restraining Order and

Preliminary Injunction. Dkt. 9. Defendants responded to that motion on December 6, 2021

and Plaintiffs filed a reply on December 13, 2021. Dkt. 25, 28. This motion is still pending.

       On December 7, 2021, the U.S. District Court for the Southern District of Georgia

entered a nationwide preliminary injunction enjoining the federal government “from enforcing

the vaccine mandate for federal contractors and subcontractors in all covered contracts in any


                                               1
           Case 5:21-cv-01069-G Document 31 Filed 01/04/22 Page 2 of 3




state or territory of the United States of America.” Georgia v. Biden, No. 21-cv-00163 at 27 (S.D.

Ga. Dec. 7, 2021). On December 13, Defendants moved to stay this case unless and until the

Georgia injunction is stayed, vacated or narrowed. Plaintiffs filed a response to that motion

on December 29. Dkt. 30. The Court has not yet resolved this motion.

       In light of these two outstanding motions, Defendants now respectfully request the

Court extend their deadline to respond to Plaintiffs’ Complaint until three weeks after either

(1) any stay is lifted; or (2) the Court denies Defendants’ motion to stay the proceedings in this

case—whichever is sooner. Defendants have conferred with Plaintiffs, and Plaintiffs do not

object to this request.

       Defendants appreciate the Court’s consideration and respectfully request entry of

Defendants’ proposed order.

Dated: January 4, 2022                       Respectfully submitted,

                                             BRIAN M. BOYNTON
                                             Acting Assistant Attorney General

                                             BRAD P. ROSENBERG
                                             Assistant Branch Director

                                             /s/ Madeline McMahon
                                             MADELINE MCMAHON (DC Bar 1720813)
                                             KRISTIN A. TAYLOR (TX Bar. 24046952)
                                             JODY LOWENSTEIN
                                             Trial Attorneys
                                             U.S. Department of Justice
                                             Civil Division, Federal Programs Branch
                                             1100 L St. NW
                                             Washington, DC 20005
                                             (202) 451-7722
                                             madeline.m.mcmahon@usdoj.gov

                                             Attorneys for Defendants


                                                2
          Case 5:21-cv-01069-G Document 31 Filed 01/04/22 Page 3 of 3




                             CERTIFICATE OF SERVICE

       On January 4, 2022, I electronically submitted this document to the clerk of court of

the U.S. District Court for the Western District of Oklahoma using the court’s electronic case

filing system. I certify that I have served all parties electronically or by another manner

authorized by Federal Rule of Civil Procedure 5(b)(2).


                                                  /s/ Madeline McMahon
                                                   MADELINE MCMAHON (DC Bar
                                                   1720813)
                                                   Trial Attorney
                                                   U.S. Department of Justice
                                                   Civil Division, Federal Programs Branch
                                                   1100 L St. NW
                                                   Washington, DC 20005
                                                   (202) 451-7722
                                                   Madeline.m.mcmahon@usdoj.gov




                                              3
